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                               Exhibit 66



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                Montpelier, VT

                                                                               Page 1
                UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS

    -------------------------------------X

    In Re: PHARMACEUTICAL INDUSTRY        )

    AVERAGE WHOLESALE PRICE LITIGATION    )

    -------------------------------------X MDL No. 1456

    THIS DOCUMENT RELATES TO:             ) Master File No.

    United States of America ex rel.      ) 01-CV-12257-PBS

    Ven-A-Care of the Florida Keys, Inc.,)

    et al. v. Dey, Inc., et al.,          )

    Civil Action No. 05-11084-PBS,        ) Hon. Patti B.

    and United States of America ex rel. ) Saris

    Ven-A-Care of the Florida Keys, Inc.,)

    et al. v. Boehringer Ingelheim Corp.,)

    et al., Civil Action No. 07-10248-PBS)

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                  VIDEOTAPED DEPOSITION OF

        THE VERMONT DEPARTMENT OF HEALTH by ANN RUGG

                    Montpelier, Vermont

                 Monday, December 15, 2008

                          9:00 a.m.




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  1
                             A P P E A R A N C E S
  2

  3
       On behalf of Dey, Inc., Dey L.P., Inc. And
  4
       Dey, L.P.:
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       On behalf of the United States of America:
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                                                                           Page 117
  1
       upper limit is set at a level that establishes an
  2
       amount where generic -- one or more of them,
  3
       could be readily obtained on a national basis.
  4
       But that's a national model.                 The advantage of a
  5
       MAC, which is at our MAC, is also three or more,
  6
       is that it is more regionally based.                      So, for
  7
       example, not all products are available in the
  8
       same manner and form on a national basis.                           So the
  9
       MAC is more in recognition of what the regional
 10
       access to the products are.                 So the idea is if
 11
       you have multiple AB-rated generics is to
 12
       reimburse at a level where pharmacies can
 13
       purchase but not at the highest cost, in fact at
 14
       the lower cost options, if you will, so that
 15
       we're not artificially -- we as a program are not
 16
       artificially paying or paying a greater amount
 17
       based on what they stocked as opposed to what was
 18
       available.
 19
               Q.     Okay.     And in your experience has it
 20
       generally been the case that MACs are lower than
 21
       AWP?
 22
               A.     Yes.

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                                                                           Page 255
  1
       some of my exhibits here.
  2
       BY MR. KIM:
  3
               Q.     Well, let me rephrase that question
  4
       then.     Does Medicaid have any obligation or duty
  5
       to survey pharmacies in Vermont or pharmacies
  6
       participating in Vermont Medicaid to assess the
  7
       cost of dispensing drugs?
  8
               A.     Do we have an obligation?                No.
  9
               Q.     Does Vermont Medicaid have any
 10
       obligation to set reasonable dispensing fees?
 11
               A.     We don't have a mandated.                We can only
 12
       attempt.
 13
               Q.     Does Vermont Medicaid attempt to set
 14
       reasonable dispensing fees?
 15
               A.     We believe that 4.75 is reasonable.
 16
               Q.     You would agree or you would testify
 17
       that $4.75, well, let me ask this question first.
 18
       What is the current dispensing fee as of today?
 19
               A.     $4.75.
 20
               Q.     And what was the dispensing fee as of
 21
       the date of this report?
 22
               A.     $4.75.

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                                                                           Page 261
  1
       providers.
  2
       BY MR. KIM:
  3
               Q.     Okay.     Well, let me ask the question
  4
       this way then.          If the dispensing fee is lower
  5
       than the dispensing cost in Vermont, would that
  6
       have insured enough providers to participate in
  7
       Medicaid?
  8
                      MR. FAUCI:        Objection.
  9
                      MR. DONOFRIO:          Join.
 10
                      THE WITNESS:         Say that again.
 11
       BY MR. KIM:
 12
               Q.     Okay.     If the dispensing fee is lower,
 13
       if the dispensing fee that Vermont Medicaid paid
 14
       was lower than actual cost of dispensing
 15
       pharmaceuticals, would that have insured adequate
 16
       provider participation?
 17
                      MR. DONOFRIO:          Objection.
 18
                      MR. FAUCI:        Objection.
 19
                      THE WITNESS:         I can only say that at
 20
       this point that 142, 145 in-state pharmacies, 142
 21
       participate in Vermont Medicaid and another 120
 22
       out-of-state providers.               So that would be an

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                                                                           Page 262
  1
       indication that our rates are sufficient to
  2
       enlist providers.
  3
       BY MR. KIM:
  4
               Q.     And that's also an indication that your
  5
       dispensing fee is adequate, that you have enough,
  6
       that you have 142 providers out of 145?
  7
               A.     I don't know if it is a measure of
  8
       adequate but it seems to be sufficient to enlist
  9
       providers to serve our beneficiaries.
 10
               Q.     So based on the amount of or that
 11
       number of pharmacies that participate in
 12
       Medicaid, that is your basis for considering
 13
       whether the dispensing fee is adequate?
 14
                      MR. FAUCI:        Objection.
 15
       Mischaracterizes testimony.
 16
                      THE WITNESS:         I'm saying that you asked
 17
       if it was adequate, and I said we weren't
 18
       obligated to assure that it is adequate.                          We are
 19
       only obligated to pay enough to enlist providers.
 20
       And we have enlisted providers to serve our
 21
       beneficiaries.
 22
       BY MR. KIM:

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